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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      July 28, 2020

VIA ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

        Re:      United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        The Government respectfully submits this letter with respect to the protective order to be
entered in the above-captioned case, and to respond to the defendant’s letter and submission of
July 27, 2020 (the “Defendant Letter” or “Def. Ltr.”) (Dkt. 29). The Government and defense
counsel have conferred regarding a protective order several times via telephone and email between
July 9, 2020, and today, including as recently as this morning. The Government and defense
counsel have come to an agreement on much of the proposed protective order. However, the
parties disagree as to two inclusions sought by the defendant which the Government objects to and
for which, as detailed herein, the Government submits there is no legal basis. Accordingly, the
Government respectfully requests that the Court enter its proposed protective order (the
“Government Proposed Order”), which is attached hereto as Exhibit A, and which differs from the
defendant’s proposed order in those two respects, as further described below.

       A.     The Defendant’s Request to be Permitted to Publicly Name and Identify Victims

        As detailed herein, the Government seeks to protect the identities of victims, consistent
with their significant privacy interests and the well-established law in this Circuit, and proposes a
protective order consistent with those very significant interests. In contrast, the defendant insists
that the protective order be modified such that she and her counsel would be permitted to “publicly
referenc[e]” individuals, by name, who have “spoken on the public record to the media or in public
fora, or in litigation – criminal or otherwise – relating to Jeffrey Epstein or Ghislaine Maxwell.” 1
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      Specifically, the defendant’s proposed protective order differs from the Government’s in that
it adds a sentence, in its paragraph 6 (which is paragraph 5 of the Government Proposed Order),
stating the following: “Nor does this Order prohibit Defense Counsel from publicly referencing
individuals who have spoken on the record to the media or in public fora, or in litigation – criminal
or otherwise – relating to Jeffrey Epstein or Ghislaine Maxwell.” The defendant also either adds
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The defendant’s demand that she and her counsel be permitted to name any individuals who have
ever publicly identified themselves as a victim of either Epstein or the defendant in any “public
fora,” and at any time, without limitation, is extraordinarily broad, unnecessary, and inappropriate,
and should be denied.

         As an initial matter, there can be no serious question that there are significant privacy and
victim interests at issue here, which the Government Proposed Order seeks to protect. Particularly
in the context of victim witnesses, there are compelling reasons to limit public disclosure of victim
identities and other sensitive information. Indeed, the Crime Victims’ Rights Act, 18 U.S.C. §
3771, requires district courts to implement procedures to ensure that crime victims are accorded,
among other rights, “[t]he right to be reasonably protected from the accused,” in addition to “[t]he
right to be treated with fairness and with respect for the victim’s dignity and privacy.” Id. §§
(a)(1), (a)(8) (emphasis added). Moreover, “the public generally has a strong interest in protecting
the identities of . . . victims so that other victims will not be deterred from reporting such crimes.”
United States v. Paris, 2007 WL 1484974, at *2 (D. Conn. May 18, 2007).

          Moreover, and consistent with those interests, courts in this Circuit have routinely
acknowledged the need to protect victim-witness identities. See, e.g., United States v. Corley,
13 Cr. 48 (AJN), 2016 WL 9022508, at *4 (S.D.N.Y. Jan. 15, 2016) (“Because Corley’s minor
victims have significant privacy and safety interests at stake, while Corley’s interests are minimal,
the Court finds good cause to modify the protective order in this case to prevent Corley from
learning the surnames of the minor victims.”); United States v. Kelly, 07 Cr. 374 (SJ), 2008 WL
5068820, at *2 (E.D.N.Y. July 10, 2008) (“Given the potentially explicit nature of the government
witnesses’ expected testimony, the government argues that it is necessary to conceal their identity
to protect them from public humiliation and embarrassment. This Court agrees. Thus, the parties
[. . .] are hereby prohibited from releasing to anyone, including members of the press, the identity
or any identifying information of the government’s witnesses.”). It is similarly routine in this
District for parties in a criminal case to refer to witnesses by pseudonyms (such as “Victim-1” or
“Witness-1”) to protect the privacy interests of third parties unless and until they testify publicly.

        The Government’s proposed order endeavors to protect those interests by generally
requiring the parties to abstain from identifying any victim by name in any public statement or
filing while also ensuring that the defendant and her counsel are fully able to prepare for trial.
Indeed, to facilitate the defendant’s investigation and preparation for trial, the Government’s
proposal makes clear that defense counsel and defense staff, including defense investigators,
should not be prohibited from referencing identities of individuals in conversations with
prospective witnesses, so long as those witnesses and their counsel abstain from further disclosing
or disseminating any such identities. See Government Proposed Order ¶ 5. The terms of the
Government’s proposed order also would permit defense counsel to refer to any individual by
name in any filing under seal, merely requiring redaction of identifying information or the use of
a pseudonym in public filings. The Government further proposes that defense counsel not be
prohibited from publicly referencing individuals who have spoken—or who at some future time


or deletes language in furtherance of its desire to publicly reference victim identities in defense
paragraphs 7, 9, and 17 (which are Government Proposed Order paragraphs 6, 7, and 16).
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speak—by name on the public record in this case, as one victim has already chosen to do, because
those victims, and only those victims, have affirmatively chosen to be publicly identified in
connection with this case. These proposals are reasonable, narrowly tailored, and not broader than
necessary to protect victims’ privacy interests, safety, and well-being, to avoid potential
harassment of witnesses by the press and others, and to prevent undue embarrassment and other
adverse consequences. At this stage in the case, permitting defense counsel to refer to witnesses
by name in sealed filings, to refer to witnesses by name in the course of private conversations
during their investigation, and to refer by name to individuals who have made the affirmative
choice to be identified by name in connection with this criminal case is more than enough to enable
the defendant ability to vigorously pursue her defense.

        The defendant has rejected this proposal because, as noted above, she believes that she and
her counsel should be permitted to “publicly referenc[e]” individuals, by name, who have “spoken
on the public record to the media or in public fora, or in litigation – criminal or otherwise – relating
to Jeffrey Epstein or Ghislaine Maxwell.” In support of the defendant’s application for such
sweeping ability to publicly name any such individuals, defense counsel provides only the
conclusory assertion that an inability to publicly reference the names of victims, in court
proceedings and beyond, will hinder their ability to investigate, prepare witnesses for trial, and
advocate on the defendant’s behalf. The Government has repeatedly asked defense counsel to
explain how or why it would need to publicly name victims of sexual abuse to prepare for trial,
and the defense repeatedly has declined to do so, presumably because the argument borders on the
absurd.2

        The Government’s proposed protective order would do no such thing. As described above,
the Government’s proposed order would permit defense counsel and defense staff to reference the
identities of individuals they believe may be relevant to the defense to potential witnesses and their
counsel (who then would be prohibited from further disclosing or disseminating such identifying
information). Government Proposed Order ¶ 5. It would further permit the defendant to publicly
identify individuals who have chosen to speak on the record on this case. Id. ¶ 6. And it would
permit the defendant to reference identifying information in filings made under seal. See id.


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       Despite the Government’s requests for clarity on the need for the defendant’s requested
modification, the sole additional reason provided by defense counsel for why it would be
appropriate or necessary to publicly name victims is that certain of these victims have obtained
what defense counsel described as the “benefit” of publicly identifying themselves as victims (and
thus, as the defendant presumably would have it, deserve whatever public identification and
scrutiny the defendant intends to invite upon them). Beyond the offensive notion that victims of
sexual abuse experience a “benefit” by making the incredibly difficult decision to share their
experience publicly, the suggestion that victims who receive this supposed “benefit” should
receive fewer protections than the law ordinarily offers to victims in criminal cases is alarming.
Permitting defense counsel to publicly identify witnesses who have not identified themselves on
the record in this case risks subjecting witnesses to harassment and intimidation, with no
conceivable benefit to the defense other than perhaps discouraging witnesses from cooperating
with the Government.
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        Moreover, the defendant is able, at any time, to apply to the Court for a modification of the
protective order should she be able to identify a particularized need to publicly name victims who
have not yet identified themselves on the record in this case—as opposed to redacting their names
from court filings, or referring to them in an anonymized fashion. As noted, to date, defense
counsel has declined to identify to the Court or to the Government any example of why doing so
would be necessary or helpful to the defense, or even under what circumstances the defense might
want to do so.

         The defendant’s proposal is also extraordinarily broad, and without any temporal or subject
matter limitation as to the phrase “public fora.” Adopting the defendant’s proposal would mean
that any individual who has ever self-identified as a victim of Jeffrey Epstein or Ghislaine Maxwell
publicly in any capacity would be subject to public identification by the defendant and her counsel
in connection with this case. This would include, as hypothetical examples, someone who spoke
to a journalist for a local story in 1997, or posted on a MySpace page followed by a handful of
friends in 2005, or made a statement on a small podcast in 2009, or posted on Twitter to a handful
of followers in 2013. But none of these examples of ventures into the “public fora” can possibly
be construed as efforts by hypothetical victims to consent or choose “to self-identify,” Def. Ltr.
at 3, in a future criminal case against Ghislaine Maxwell subject to extraordinary public attention
and scrutiny.

         Additionally, while some individuals have identified themselves as victims without
providing any details or additional information about their abuse, the defense contemplates no
limitation of publicly associating those individuals with the details of their abuse in public defense
statements or filings. In essence, the defendant’s proposal seeks authorization to drag into the
public glare any victim who has ever made any type of public statement of victimization—no
matter how long ago or how brief—without that victim’s knowing consent and without any
substantive justification. That is particularly troubling given that the Government expects to make
productions of discovery and 3500 materials well surpassing its obligations. Those productions
will necessarily include the identities of individuals whom the Government does not expect to call
as witnesses, and whose accounts—much less identities—will have no bearing on this case. But
the defendant’s proposal would allow her and her counsel to publicly name them in any public
statement or filing at their sole discretion. This is plainly unnecessary for any investigative steps
or trial preparation, would be grossly inappropriate and unfair, and would be inconsistent with the
Crime Victims’ Rights Act.

        Conversely, the Government’s submission proposes that the defendant and her counsel not
be precluded from discussing publicly individuals who identify themselves on the record in this
criminal prosecution, because any such individuals will have made a conscious and informed
choice to be associated publicly with this case. See Government Proposed Order ¶¶ 5, 6, 8. The
identity of any other individuals should be protected from public broadcast by the defendant and
her counsel.

       The defendant argues that her proposed language is “nearly identical in all material
respects” to the protective order entered in United States v. Epstein, 19 Cr. 490 (RMB) (Dkt. 38).
Def. Ltr. at 3. In the first instance, that is false. The protective order in the Epstein case included
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a provision stating that it did not prohibit defense counsel from publicly referencing individuals
who had spoken on the public record in litigation relating to Jeffrey Epstein. Id. ¶ 4. Here, defense
counsel seeks permission to publicly identify any individuals who have self-identified as victims
of either the defendant or Epstein “to the media or in public fora, or in litigation”—a vastly broader
allowance. Indeed, as a comparison, none of the hypothetical examples described above would
have been subject to public naming and identification under the Epstein protective order, but every
single one would be under the defendant’s proposed order in this case.

         Additionally, beyond the differences in the language itself, there are two significant
differences between the circumstances of the Epstein prosecution and this case. First, at the time
the Epstein protective order was entered, there were exceptionally few victims who had identified
themselves by name in litigation. Accordingly, the practical application of that provision was
extremely limited. Second, and related, in the time between when the Epstein protective order was
entered and the indictment in this case, many more victims have made public statements about
their victimization at the hands of Epstein, and the defendant, on their own terms and in their own
ways, including by exercising their rights under the Crime Victims’ Rights Act in the context of
the dismissal of the indictment against Jeffrey Epstein following his suicide. Those victims could
not possibly have predicted, much less chosen, that their names would be publicly broadcast by
defense counsel in connection with a subsequent criminal case. Victims should be able to continue
to come forward, in the ways and in the venues they themselves choose, without fear of reprisal,
shaming, or other consequence arising from having their identities broadcast by defense counsel
in this case.

        In sum, the requested modification to the Government’s proposed order sought by the
defendant is contrary to precedent and the compelling privacy interests of victims. Moreover, it is
without basis in fact or law, and, despite the Government’s repeated requests for clarity, the
defendant and defense counsel have offered no legitimate reason for their desire to be able to
publicly identify any number of victims, in the context of this criminal case and elsewhere, other
than a minimal, conclusory statement, without factual examples or legal support.3 At bottom, the
defendant and her counsel seek an unlimited ability to name victims and witnesses publicly, for no
discernible reason, and without justification or legal basis. The victims of Ghislaine Maxwell and
Jeffrey Epstein have suffered enough, and the Crime Victims’ Rights Act, applicable law, and
common decency compel far more protection of their privacy interests here than the defense
proposal would afford.

       B.   The Defendant’s Demand that the Government Restrict Use of its Own Documents

       The defendant and her counsel also ask the Court to impose restrictions upon the
Government in its use, through potential witnesses and their counsel, of documents it currently
possesses, beyond the already-extensive restrictions and protections applicable to the



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      To the extent defense counsel attempts to provide such examples or arguments for the first
time in a reply filing, the Government respectfully requests leave to reply to those examples or
arguments.
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Government.4 The defendant cites not a single example in any district court in the country where
such a restriction has been imposed in a protective order. Indeed, it is nonsensical for a protective
order to require limitations of the Government in its use of material already in its possession so
that the Government may provide a defendant with discovery. The defendant’s attempt to refuse
to agree to receive discovery unless the Government agrees to additional restrictions upon the use
of its own materials should be rejected.

        As an initial matter, the Government’s use of materials it has gathered through its
investigation, including through the grand jury process, search warrants, interviews, and voluntary
disclosures, is already subject to a wide range of restrictions, including Rule 6(e) of the Federal
Rules of Criminal Procedure, the Privacy Act of 1974, and other policies of the Department of
Justice and the U.S. Attorney’s Office for the Southern District of New York. In this case,
consistent with the Government’s customary practice, and as the Government has informed
defense counsel, the Government has no intention of providing witnesses, victims or their counsel
with the entirety of discovery produced to the defendant, nor anything even close to that. Indeed,
consistent with its standard practice, the Government rarely provides any third party, including a
witness, with any material they did not already possess. While the Government does more
commonly show a witness materials in connection with proffers or trial preparation, the
Government rarely if ever shows a witness material she has not already seen, does not have
personal knowledge of, or would not have some specific reason to opine upon. Practically
speaking, therefore, the concerns defense counsel raises about future use in civil litigation are not
likely to occur.

        Nevertheless, a criminal protective order is not the appropriate forum for the defendant to
demand restrictions on the Government’s use of its own materials. To the contrary, as noted above,
many of those restrictions are already established by rule and law—standards the defendant makes
no suggestion the Government has failed to adhere to in this case. Moreover, the Government as
a whole, including those beyond the prosecutors on this case, may have obligations that would
conflict with such language in a protective order. For example, the Government has obligations
under various statutory and regulatory regimes, including but not limited to the Freedom of
Information Act and Touhy v. Ragen, 340 U.S. 462 (1951), that cannot be bargained away through
a protective order. Indeed, the Government can represent that the Department of Justice has
received both FOIA and Touhy requests in connection with this investigation, requests to which
the Department has a legal obligation to respond appropriately. The Government respectfully
submits it would be inappropriate for the defendant to seek—or the Court to order—language in a
protective order that conflicts with or supersedes those obligations. Tellingly, the defendant cites
no authority or precedent for her request regarding this issue.

      By contrast, to the extent the defendant intends to produce reciprocal discovery to the
Government, it may in that case be appropriate to limit the Government’s use, or third parties’ use,

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      Specifically, the defendant’s proposed protective order differs from the Government’s in that
it adds a paragraph, its paragraph 3, proposing restrictions upon the Government and its potential
witnesses, and their counsel, as well as adding language to its paragraph 5, which is Government
paragraph 4, further restricting potential government witnesses and their counsel.
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of such materials provided by the defendant to the Government. But there is no basis to add
additional restrictions upon the Government’s use of materials gathered by the Government itself.

        The defendant’s only counter-argument, as noted—that this Court should put third parties
“on equal footing with the defense”—is both unlikely to be relevant given the Government’s
standard practice, as described above, and, the Government submits, an irrelevant consideration in
the context of a criminal protective order. Indeed, the Government respectfully submits that
neither it nor this Court is well-positioned to, or should, become the arbiter of what is appropriate
or permissible in civil cases.

       In sum, the defendant’s attempt to restrict the Government and to restrict third parties in
this way appears to be unprecedented, and is without legal basis, and should be denied.

       Accordingly, for the reasons set forth above, the Court should enter the Government’s
proposed protective order, which is enclosed, and deny the defendant’s motion.

                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney


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